                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION


,                                )
                                 )
     Plaintiff,                  )
                                 )
v.                               )              ___:____-CV- ____(MTT)
                                 )
,                                )
                                 )
     Defendant.                  )
________________________________ )


               PROPOSED SCHEDULING AND DISCOVERY ORDER

      The parties held a Rule 26(f) conference on _____________. In accordance with

the Court’s Rules 16 and 26 Order dated ___________, ____, the parties to this action

conferred and jointly developed this Proposed Scheduling and Discovery Order (the

“Proposed Order”) containing deadlines and limitations as follows:


I.    Nature of the Case:

      Please include a brief description of the nature of the case and the legal issues to
      be tried. This summary should not be argumentative nor recite the evidence, but
      should call the Court’s attention to any unique or complex issues or
      circumstances surrounding the case.

II.   Counsel of Record:

      The following individually-named attorneys are designated lead counsel for the
      parties:

      Please include all relevant contact information for each lead counsel or pro se
      litigant, including mailing address, phone number, facsimile number, and email
      address.
III.   Complaint and Answer filing dates:

       Complaint was filed:       __________

       Answer was filed:          __________


III.   Discovery Deadlines:

       A.    Time for Discovery

             The time for discovery in this case shall expire ______________, that
             being no more than 180 days after the submission of the Proposed Order
             to the Court.

             If a party believes that more time for discovery is needed, an appropriate
             motion, accompanied by a proposed order for the Court, may be filed
             setting forth good cause for an extension.

       B.    Scope of Discovery

             Please state the subjects on which discovery may be needed, when
             discovery should be completed, and whether discovery should be
             conducted in phases or be limited to or focused on particular issues. See
             Fed. R. Civ. P. 26(b)(1), (f)(3)(B).

       C.    Electronically Stored Information

             Please discuss any issues about disclosure, discovery, or preservation of
             electronically stored information, including the form or forms in which it
             should be produced. See Fed. R. Civ. P. 16(b)(3)(B)(iii), 26(f)(3)(C).

       D.    Privilege Claims

             Please discuss any issues about claims of privilege or of protection as
             trial-preparation materials, including – if the parties agree on a procedure
             to assert these claims after production – whether to ask the Court to
             include their agreement in an order under Federal Rule of Evidence 502.
             See Fed. R. Civ. P. 16(b)(3)(B)(iv), 26(f)(3)(D).
E.   Witnesses to be Deposed

     Please include the name and address of every witness to be deposed.


F.   Expert Witnesses

     1.    Designation of Experts

           The Plaintiff must disclose the identity of any expert witness on or
           before _____________, that being no more than 90 days after the
           submission of the Proposed Order to the Court.

           The Defendant must disclose the identity of any expert witness on
           or before _____________, that being no more than 120 days after
           the submission of the Proposed Order to the Court.

     2.    Expert Reports

           Expert reports shall comply with Federal Rule of Civil Procedure
           26(a)(2)(B). Any supplemental expert reports must be served on or
           before _____, that being no more than 160 days after the
           submission of the Proposed Order to the Court. No additional
           supplemental reports may be disclosed or provided after this date
           without leave of Court.


G.   Discovery Limitations or Need for Protective Order

     The parties agree that requests for admission that are propounded solely
     to authenticate documents as provided for under Federal Rule of Civil
     Procedure 36(a)(1)(B) are excluded from Local Rule 36's limitation on the
     number of requests to admit that can be propounded.

     Please include here any other relevant matters, including any matters
     referenced in Rule 26(f).

H.   Discovery Disputes

     Before moving for an order relating to discovery, including motions to
     compel or contested motions for protective orders, the movant must
     contact Kim A. Tavalero, Courtroom Deputy (478-752-0717) to request a
     telephone conference with the Court.
IV.   Time for Filing Motions:

      A.    Motions to Amend the Pleadings or to Join Parties

            All motions seeking to amend the pleadings or to join parties must be filed
            no later than ____________, that being no more than 60 days after the
            entry of this Scheduling and Discovery Order.

      B.    Dispositive Motions

            All dispositive motions must be filed no later than ____________, that
            being no more than 30 days after the expiration of discovery in this case.

      C.    Daubert Motions

            All Daubert motions must be filed no later than _________, that being no
            more than 30 days after the expiration of discovery in this case.


V.    Certification of the Parties and Counsel:

      The Parties, by the signature of counsel below, certify they have conferred and
      discussed the nature and basis of their claims and defenses and the possibilities
      for prompt settlement or resolution of the case, pursuant to Local Rule 26(a).

      Counsel further certify they have read the Court’s Rules 16 and 26 Order. All
      counsel of record shall digitally sign below.

      This ____ day of _________, _____.




      __________________________               ______________________
      Counsel for Plaintiff(s)                 Counsel for Defendant(s)
      XXX                                      XXX
      xxxxxxxxxxxxxxxxxx                       xxxxxxxxxxxxxxxxxx
      The Court, having reviewed the information contained in the Proposed

Scheduling and Discovery Order completed and filed jointly by the parties to this action,

hereby ADOPTS the parties’ plan and MAKES IT THE ORDER OF THE COURT.


      SO ORDERED, this ____ day of _________, _____.
